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     Scarlett Freeman (State Bar No. 335858)
 1   EPSTEIN BECKER & GREEN, P.C.
 2
     655 Montgomery Street, Suite 1150
     San Francisco, CA 94111
 3   Telephone: 415.399.6021
     Facsimile: 415.398.0955
 4   sfreeman@ebglaw.com
 5   Janene M. Marasciullo (pro hac vice)
 6
     EPSTEIN BECKER & GREEN, P.C
     875 Third Avenue
 7   New York, NY 10022
     Telephone: 212.351.3700
 8   Facsimile: 212.878.8600
     jmarasciullo@ebglaw.com
 9   Attorneys for Defendant
     ITM TwentyFirst, LLC
10

11
                                        UNITED STATES DISTRICT COURT
12                                   NORTHERN DISTRICT OF CALIFORNIA
13   JERRY GARRETT, an individual, as                )
     Special Administrator for the ESTATE            )
14
     of FRANK GARRETT, JR.,                          )      Case No: 4:22-cv-00335-YGR
15                                                   )      DECLARATION OF JANENE
16                                   Plaintiff(s).   )      MARASCIULLO IN SUPPORT OF
                                                            ITM’S MOTION TO DISMISS THE
17           v.                                      )
                                                            AMENDED COMPLAINT
18
     ITM TwentyFirst, LLC et al.,                    )
                                     Defendant(s). )
19

20           I, JANENE MARASCIULLO, am an attorney licensed to practice law in New York and

21   Washington, D.C., and I have been admitted pro hac vice to serve as counsel for defendant, ITM

22   TwentyFirst LLC (“ITM”), in this case.
23           1.        I submit this declaration, in accordance with 28 U.S.C. § 1746, in support of ITM’s
24   Motion to Dismiss the Amended Complaint. I have personal knowledge of the facts set forth below.
25           2.        Attached hereto as Exhibit A is a true and correct copy of the February 7, 2006 PHL
26
     Variable Insurance Company (“PHL”) insurance policy insuring the life of Frank Garrett, Jr. (“the PHL
27
     Policy”), which the same policy that ITM submitted in support of its prior motion to dismiss. See Dkt.
28
     33-2. ITM submitted the declaration of Frank Tomasello to authenticate the PHL Policy in connection

                                                                              Declaration of Janene Marasciullo

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 1   with its prior motion to dismiss. See Dkt. 33-1 ¶ 9.
 2             3.      Attached hereto as Exhibit B is a true and correct copy of the May 9, 2022 complaint
 3   filed by Viva Capital 3, L.P. (“Viva 3”) against Plaintiff in the matter of Viva Capital 3, L.P., v. Jerry
 4
     Garret, No. 22-CIV-01911 (Sup. Ct. San Mateo County).
 5
               4.      Attached hereto as Exhibit C is a true and correct copy of the Massachusetts Mutual
 6
     Insurance Company (“Mass Mutual”) insurance policy insuring the life of Frank Garrett, Jr. (“the MM
 7
     Policy”), which the same policy that ITM submitted in support of its prior motion to dismiss. See Dkt.
 8
     33-3. ITM submitted the declaration of Frank Tomasello to authenticate the MM Policy in connection
 9
     with its prior motion to dismiss. See Dkt. 33-1 ¶ 9.
10
               5.      Attached hereto as Exhibit D a true and correct copy of the May 11, 2022 complaint filed
11
     by Viva Capital Trust (“Viva”) against Plaintiff in the matter of Viva Capital Trust v. Jerry Garrett, No.
12
     49 CIV 22-001050 (Second Jud. Circuit Court Minnehaha County).
13
               6.      Attached hereto as Exhibit E is a true and correct copy of a February 6, 2019 letter, from
14

15
     PHL Variable Insurance Company (PHL) to U.S. Bank, N.A., (“US Bank”), by which PHL invited US

16   Bank to submit claim for the death benefit claim on the PHL Policy. PHL produced this document to

17   Plaintiff’s counsel, Cozen O’Connor (“Cozen”) on or about May 9, 2022. See Exhibit O attached

18   hereto.

19             7.      Attached hereto as Exhibit F is a true and correct copy of the Death Benefit Claim that
20   US Bank submitted to PHL. PHL produced this document to Plaintiff’s counsel, Cozen, on or about
21   May 9, 2022. See Exhibit O attached hereto.
22             8.      Attached hereto as Exhibit G is a true and correct copy of Plaintiff’s Amended
23
     Complaint May 25, 2022 Complaint and Exhibit A thereto filed in the matter of Jerry Garrett v. ITM
24
     TwentyFirst, LLC, (D. Conn. No. 3:22-cv-0009-SALM). Exhibit A to the Amended Complaint is a true
25
     and correct copy of the March 1, 2019 death benefit check that PHL sent to U.S. Bank, N.A. See
26
     Exhibit G at p. 22.
27
               9.      Attached hereto as Exhibit H is a true and correct copy of the February 8, 2019 Death
28
     Benefit Claim that Wilmington Trust, N.A. (“Wilmington”) submitted to Mass Mutual. By email dated
                                                                               Declaration of Janene Marasciullo

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 1   June 21, 2022l, Cozen confirmed that Mass Mutual produced this document to Cozen on or about April
 2   29, 2022. A true and correct copy of the June 21, 2022 email from Plaintiff’s counsel is attached as
 3   Exhibit O. A true and correct copy of Mass Mutual’s cover letter and record custodian affidavit are
 4
     included in Exhibit N.
 5
             10.       Attached hereto as Exhibit I is a true and correct copy of Plaintiff’s Amended Complaint
 6
     May 25, 2022 Complaint and Exhibit A thereto filed in the matter of Jerry Garrett v. ITM TwentyFirst,
 7
     LLC, (D. Mass. No. 3:22-cv-10065-MGM). Exhibit A to Plaintiff’s May 25, 2022 Amended Complaint
 8
     is a true and correct copy of the February 15, 2022 death benefit check that Mass Mutual sent to
 9
     Wilmington. See Exhibit G at p. 14.
10
             11.       Attached hereto as Exhibit J are true and correct copies of the letters dated October 26,
11
     2020 and November 24, 2020 letter by which Jean Garrett, Frank Garrett, Jr.’s widow, asked PHL and
12
     Mass Mutual, respectively, to identify the person or entity who received the death benefits on the
13
     Policies at issue in this litigation. Mass Mutual produced the November 24, 2022 letter to Cozen on
14

15
     April 29, 2022. See Exhibit O; Exhibit N. Cozen filed the October 26, 2020 letter in the matter of

16   Jerry Garrett v. ITM TwentyFirst, LLC, (D. Conn. No. 3:22-cv-0009-SALM) and I downloaded it from

17   ECF.

18           12.       Attached hereto as Exhibit J-1 is a true and correct copy of the May 19, 2021 letter from

19   Cozen to US Bank. Cozen filed the May 19, 2021 letter in the matter of Jerry Garrett v. ITM
20   TwentyFirst, LLC, (D. Conn. No. 3:22-cv-0009-SALM) and I downloaded it from ECF.
21           13.       I downloaded Exhibit J-1 from the ECF docket in the matter of Jerry Garrett v. ITM
22   TwentyFirst, LLC, (D. Conn. No. 3:22-cv-0009-SALM).
23
             14.       Attached hereto as Exhibit K are true and correct copies of the Subpoenas that Plaintiff
24
     served upon Mass Mutual and PHL.
25
             15.       Attached hereto as Exhibit L is a true and correct copy the transcript of proceedings held
26
     before this Court on April 25, 2022.
27
             16.       Attached hereto as Exhibit M is a true and correct copy Plaintiff’s Interrogatories and
28
     Document Requests served upon ITM on or about May 4, 2022.
                                                                               Declaration of Janene Marasciullo

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 1           17.       Attached hereto as Exhibit N is Mass Mutual’s cover letter producing documents, a
 2   corporate records attestation, and the death benefit check from Mass Mutual to Wilmington.
 3           18.       Attached hereto as Exhibit O is a true and correct copy of a June 21, 2022 email
 4
     exchange in which Cozen indicated that: (A) on April 29, 2022, Mass Mutual produced documents
 5
     demonstrating that it paid the death benefit on the MM Policy to Wilmington Bank, N.A., and (B) on
 6
     May 9, 2022, PHL produced documents demonstrating that it paid the death benefit on the PHL Policy
 7
     to US Bank.
 8
             19.       Attached hereto as Exhibit P is a true and correct copy of my June 1, 2022 letter to
 9
     Cozen, in which I asked Plaintiff to: (1) withdraw its claims against ITM in light of the fact that the
10
     complaints filed by Viva and Viva 3 confirmed that ITM had not received the death benefit on either the
11
     PHL Policy or MM Policy; and (2) withdraw its discovery requests in this case because Plaintiff had
12
     elected to proceed in the Districts of Connecticut and Massachusetts, thereby abandoning this action.
13
     Cozen did not respond to this letter.
14

15
             20.       Attached hereto as Exhibit Q is a true and correct copy of my June 3, 2022 email to

16   Cozen by which I reiterated my request that Plaintiff to: (1) withdraw its claims against ITM in light of

17   the fact that the complaints filed by Viva and Viva 3 confirmed that ITM had not received the death

18   benefit on either the PHL Policy or MM Policy; and (2) withdraw its discovery requests in this case

19   because Plaintiff had elected to proceed in the Districts of Connecticut and Massachusetts, thereby
20   abandoning this action. Cozen did not respond to this email.
21           21.       Attached hereto as Exhibit R is a true and correct copy ITM’s June 6, 2022 Responses
22   and Objections to Plaintiff’s Interrogatories.
23
             22.       Attached hereto as Exhibit S is a true and correct copy ITM’s June 6, 2022 Responses
24
     and Objections to Plaintiff’s Requests for Production of Documents.
25
             23.       Cozen never contacted me or anyone else at this law firm to suggest that ITM’s June 6,
26
     2022 discovery responses were incomplete and never requested a supplemental response. In light of the
27
     fact that Plaintiff filed amended complaints in the duplicative actions pending in the Districts of
28
     Connecticut and Massachusetts, but had not amended its complaint in this case, I believed in good faith
                                                                               Declaration of Janene Marasciullo

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 1   that Plaintiff had abandoned this action.
 2           24.       On July 11, 2022, ITM filed motions to dismiss the duplicative actions pending that
 3   Plaintiff filed in the Districts of Connecticut and Massachusetts (“the Duplicative Actions”). Attached
 4
     hereto as Exhibit T is a true and correct copy of ITM’s July 11 2022 Notice of Motion to Dismiss and
 5
     Memorandum of Law in Support filed in the matter of Estate of Garrett v. ITM et al., (D. Conn. 3:22-cv-
 6
     00089-SALM). Attached hereto as Exhibit U is a true and correct copy of ITM’s July 11 2022 Notice of
 7
     Motion to Dismiss and Memorandum of Law in Support filed in the matter of Estate of Garrett v. ITM
 8
     et al., (D. Mass. 3:22-cv-10065-MGM).
 9
             25.       On August 1, 2022, Plaintiff elected to voluntarily dismiss the Duplicative Actions rather
10
     than respond to ITM’s Motion to Dismiss. Attached hereto as Exhibit V are a true and correct copies of
11
     the Rule 41(a)(1) Notice of Dismissal filed by Plaintiff in the Duplicative Actions.
12
             26.       Attached hereto as Exhibit W is a true and correct copy of the Answer and Affirmative
13
     Defenses and Counterclaims that Plaintiff filed in the matter of Viva Capital 3, L.P., v. Jerry Garret, No.
14

15
     22-CIV-01911 (Sup. Ct. San Mateo County).

16           27.       Attached hereto as Exhibit X is a true and correct copy the Answer, Affirmative

17   Defenses and Counterclaims that Plaintiff filed in the matter of Viva Capital Trust v. Jerry Garrett, No.

18   49 CIV 22-001050 (Second Jud. Circuit Court Minnehaha County).

19           28.       In accordance with 28 U.S.C. § 1746, I declare under penalty of perjury that the
20   foregoing is true and correct.
21           Executed on August 22, 2022.
22

23
                                             _____________________
24
                                             Janene M. Marasciullo
25

26

27

28


                                                                               Declaration of Janene Marasciullo

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